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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                           *
                                                   *
                     vs.                           *       Case No. 1:21-cr-00028-APM-2
                                                   *
DONOVAN CROWL                                      *
         Defendant                                 *
                                                   *

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              CONSENT MOTION TO MODIFY CONDITIONS OF PRETRIAL
              RELEASE TO AUTHORIZE TRAVEL FOR FUNERAL SERVICES

       Donovan Crowl, by his undersigned counsel, respectfully requests that this Honorable Court

modify its Order to authorize Mr. Crowl to travel to Illinois from August 12, 2021 through August

23, 2021 to attend funeral services for his mother, who passed away in the early evening hours of

August 11, 2021 and to be with his family. AUSA Kathryn Rakoczy consents to this request, as

more fully set forth below. Pretrial Services Officer Holman does not object to this request.

       1.        On March 26, 2021, this Court released Mr. Crowl to home incarceration with

electronic monitoring. Order, ECF 115. The Court has modified that Order to allow Mr. Crowl to

visit his mother in the hospital once before (ECF 178, 4/23/21); and for work release (ECF 191,

5/19/21).1 Mr. Crowl has been in in full compliance with the conditions of release. See PSA Status

Report (ECF 322, 8/9/21)




       1
            In granting work release, the Court entered a Minute Order that states in relevant part:

       To the extent the conditions of release need to be designated as Home Confinement
       instead of Home Incarceration, such adjustment is granted. All other conditions of
       release shall remain in place. See the attached Order for additional details. Signed by
       Judge Amit P. Mehta on 5/19/2021. (lcapm1) (Entered: 05/19/2021)
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       2.      Mr. Crowl’s mother passed away on August 11, 2021 in a hospital in St. Louis, MO,

where she had been a patient for the past year for treatment of leukemia and related medical

problems.

       3.      Mr. Crowl respectfully requests that the Court modify the condition of release to

authorize him to travel to be with his family in Illinois, where his mother’s funeral services are to

be held and where his brother and other family members live.

       4.      Mr. Crowl will stay with his brother in Illinois.

       5.      Counsel has provided to AUSA Rakoczy and to Pretrial Services the name, address

and phone number of his brother’s residence.

       6.      As part of this modification, Mr. Crowl would be required to make daily phone calls

to his Pretrial Services Officer in Ohio and contact the Pretrial Services Officer as soon as he returns

to Ohio.

       7.      Mr. Crowl is planning to travel by automobile to Illinois with his daughter and return

in the same manner. He hopes to leave his residence in Ohio as soon as the Court modifies the

conditions of release. He would return to Ohio on August 23, 2021.

       8.      As in the past, during his period away from his residence in Ohio, the location

monitoring services would be turned off as there is no way to maintain the radio frequency

monitoring services while he is traveling.

       9.      All other conditions of pretrial release would remain in place.




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       WHEREFORE, Mr. Crowl respectfully moves that this Honorable Court modify its Order

Setting Conditions of Release to authorize Mr. Crowl to travel out of town from August 12, 2021

through August 23, 2021 to visit with his family and attend his mother’s funeral services in Illinois.


                                                       Respectfully submitted,

                                                       /s/ Carmen D. Hernandez
                                                       Carmen D. Hernandez
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                                                       240-472-3391
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                                  CERTIFICATE OF SERVICE

       I hereby certify that the instant notice was served on all counsel of record 11th day of August,
2021 on all counsel of record via ECF.



                                                       /s/ Carmen D. Hernandez
                                                       Carmen D. Hernandez




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